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                                                   August 21, 2023

 VIA ECF

 Special Master the Honorable Thomas Vanaskie
 Stevens & Lee
 1500 Market Street, East Tower
 18th Floor
 Philadelphia, PA 19103


          Re:       In re Valsartan, Losartan, and Irbesartan Products Liability Litigation
                    Case No. 1:19-md-02875-RBK-JS



 Dear Special Master Vanaskie:

          This letter is to provide Defendants’ position with respect to the topic on the agenda for the

 Teleconference with Your Honor on August 23, 2023. The parties do not expect the need to discuss

 any confidential materials as part of this agenda item.

          Wholesaler Defendants’ Proposed Schedule for Losartan/Irbesartan Discovery

          Counsel for Plaintiffs and Wholesaler Defendants have met and conferred on multiple

 occasions regarding a Scheduling Order applicable to discovery regarding losartan and irbesartan

 products. Wholesaler Defendants have agreed to Plaintiffs’ proposals regarding the specific items

 of discovery directed to Wholesalers, and the parties have agreed on proposed dates for each of

 those items. These agreed dates also fold in custodial discovery on valsartan.

          Conversely, Plaintiffs have refused to even discuss dates regarding items of discovery

 directed to Third-Party Payor (TPP) Plaintiffs. Plaintiffs’ refusal to consider any Scheduling Order

 that includes deadlines for discovery directed to TPP Plaintiffs is a further attempt to exempt the


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 TPP Plaintiffs from discovery in this litigation in violation of the Federal Rules of Civil Procedure

 and prejudice Wholesaler Defendants’ rights to defend themselves against the TPP Plaintiffs’

 claims.     Therefore, Wholesaler Defendants respectfully request that the Court enter their

 [Proposed] Scheduling Order Regarding Plaintiffs’ Discovery to Wholesaler Defendants and

 Wholesaler Defendants’ Discovery to Plaintiffs Regarding Losartan and Irbesartan Products,

 attached as Exhibit A.

           Plaintiffs first refused to agree to any deadlines for Wholesaler Defendants’ discovery

 directed to TPP Plaintiffs regarding losartan and irbesartan on the grounds that, to date, Wholesaler

 Defendants are the only group of Defendants who have requested a schedule for discovery

 deadlines applicable to TPP Plaintiffs. Plaintiffs improperly refused to consider any schedule that

 required TPP Plaintiffs to participate in discovery “unless and until those discovery deadlines and

 the type of discovery to be conducted is coordinated amongst all Defendants.” (Attached as

 Exhibit B, p. 14.) While Wholesaler Defendants appreciate the benefits of coordination of

 discovery and are willing to coordinate when reasonably practical to do so, there is no requirement

 in the Federal Rules of Civil Procedure or any Order from this Court that subjugates Wholesaler

 Defendants’ rights to obtain discovery from any Plaintiff in this litigation to whether or not the

 other many Defendants simultaneous seek discovery from Plaintiffs regarding losartan and

 irbesartan on the same timetable. Moreover, the discovery Wholesaler Defendants will pursue

 from TPP Plaintiffs (examples of which have already been provided to counsel for Plaintiffs) is

 directed specifically to the TPP Class Representatives and Assignors, and is tailored to Wholesaler

 Defendants’ specific discovery needs, separate and apart from other Defendants. Coordination is

 not required for TPP Plaintiffs to respond to this tailored discovery. Finally, as the Court is aware,
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 TPP Plaintiffs have previously refused to provide Wholesaler Defendants discovery regarding

 valsartan products based on their claim that the discovery requests were untimely. Those

 arguments and the vigor with which they have been asserted demonstrates that Wholesaler

 Defendants must seek the discovery they require now, concurrent with Plaintiffs’ discovery

 requests to Wholesaler Defendants.

          Plaintiffs have most recently added to their argument against having to respond to

 discovery, claiming that Wholesaler Defendants’ proposed schedule for discovery to Plaintiffs is

 improper because Wholesaler Defendants have no right to obtain any discovery from TPP

 Plaintiffs (or any Plaintiffs for that matter) other than via a Plaintiff Fact Sheet. (Exhibit B, p. 1.)

 There are several problems with this argument. For one, Case Management Order No. 17

 approving the TPP Fact Sheet procedure for valsartan does not abrogate the Federal Rules of Civil

 Procedure and it does not include any provision stating that it is the exclusive means of obtaining

 discovery from TPP Plaintiffs. Moreover, the Court previously has permitted service of Rule 34

 requests for production on TPP Plaintiffs on multiple occasions outside of the Fact Sheet process.

 (See Dkt. Nos. 633 and 1249.) Plaintiffs also have served Wholesaler Defendants with Requests

 for Production separate and apart from the Fact Sheet procedure applicable to Wholesaler

 Defendants. Plaintiffs’ counsel’s new claim that Wholesaler Defendants cannot obtain discovery

 from TPP Plaintiffs about losartan and/or irbesartan outside of the Fact Sheet procedure is contrary

 to the Rules of Civil Procedure and the prior Orders of the Court, and it should be rejected.




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          Wholesaler Defendants are entitled to take discovery from TPP Plaintiffs pursuant to the

 Federal Rules of Civil Procedure, and request that their proposed schedule providing for discovery

 of TPP Plaintiffs regarding losartan and irbesartan be entered by the Court.



                                                                  Respectfully submitted,

                                                                  /s/ Victoria Davis Lockard

                                                                  Victoria Davis Lockard


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